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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           CRIMINAL NO. H-10-513
                                                      §
RONALD HOWARD GIBBS                                   §


                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in this
case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
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[]     B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [] (1)    There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             () § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     []      under 18 U.S.C. § 924(c).

       [] (2)    The defendant has not rebutted the presumption established by finding 1 that no
                 condition or combination of conditions will reasonably assure the appearance of the
                 defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of being a felon in possession of a firearm.

       [ ] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.


                             Written Statement of Reasons for Detention

        I find that the accusations in the indictment, information submitted in the Pretrial Services
Agency report, and information at the detention hearing establish by a preponderance of the evidence
that no condition or combination of conditions will reasonably assure the appearance of the defendant
as required and by clear and convincing evidence that no conditions will assure the safety of the

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community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 41 year old born in Bryan, Texas. His mother is deceased but he has
                frequent contact with his father and 8 siblings who all live in Bryan. He is father to 8
                children: 1 biological child with his current wife; 3 from a prior relationship (for whom
                he receives child support); 3 from his wife's prior relationship; and 1 young family
                member. He has no employment history and relies on his wife's salary as a nursing
                assistant. He has been known to use aliases, including Howard Hawkins.

        2.      Defendant was evaluated and found competent to stand trial. The competence report
                found he was a malinger, and concluded his primary diagnosis is Antisocial Personality
                Disorder. He has limited intellectual ability, limited reading ability, and a 5th grade
                education.

        3.      Defendant has a lengthy criminal history. Although numerous arrests have not resulted
                in convictions, he has a felony conviction for delivery of a controlled substance, and
                had his probation revoked on that conviction. He has misdemeanor convictions for
                evading arrest and theft. He currently has an outstanding warrant for his arrest from
                Williamson County, Texas on charges of engaging in organized criminal activity.

        4.      Defendant is currently charged with being a felon in possession of a firearm in
                violation of 18 U.S.C. §§ 922 and 924. He is facing a penalty of up to 10 years in
                prison.

        5.      Law enforcement officers testified that defendant arranged to sell guns to a
                confidential informant. Testimony also established that defendant had a bad reputation
                and was considered dangerous. Because of this, approximately 80 officers were on the
                scene when the search warrant was executed. Law enforcement officers further
                testified they had reason to believe defendant was a threat to cooperating witnesses and
                law enforcement officers.

        6.      There is no condition or combination of conditions of release which would assure the
                safety of the community. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the

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purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas, on October 25, 2010.




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